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                          UMTED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



                                                     CRIMINAL NO
                                                                       ./5Cr/0 3Z3
UNITED STATES OF AMERICA
                                                     VIOLATIONS:
V.                                                   26 U.S.C. § 7206(1) - Filing False Tax
                                                                           Returns
DANIEL GIBSON                                       26 U.S.C. § 7206(2) - Assisting the
and                                                                       Preparation of
MARKKESNER,                                                                False Returns
                       Defendants                    18 U.S.C. § 371   -   Conspiracy to
                                                                           Defraud the United
                                                                           States


                                            INDICTMENT


The Grand Jury charges:

                                            Introduction


At all times material to this Indictment:


        1.     Defendant DANIEL GIBSON ("GIBSON") was a lawyer and the President and

Managing Director of a law firm ("the LF"). GIBSON owned two-thirds (2/3) of the LF and a

partner owned one-third (1/3).

       2.      Defendant MARK KESNBR ("KESNER") was a certified public accountant and

a partner in an accounting firm ("the AF"). At all material times, GIBSON retained BCESNER

and the AF to perform accounting services for the LF and for himself, personally. Between

approximately 2005 and 2010, these services included reviewing accounting records maintained

using software called Quickbooks and making adjustments to those records, preparing tax retums

for GIBSON and the LF, preparing financial statements for the LF, assisting the LF in obtaining

bank loans and assisting GIBSON with various office issues.
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       3.      The LF was an S corporation. S corporations are closely held companies and

partnerships that choose to be taxed under Subchapter S of Chapter 1 of the Internal Revenue

Code. As an S corporation, the LF was required by law to file a federal income tax return each

year but was not required to pay federal income taxes directly. Instead, the LF's income was

passed through for tax purposes to its shareholders. Accordingly, GIBSON was required to pay

income taxes on two-thirds of the LF's net income and his partner was required to pay income

taxes on one-third.


       4.      Pursuant to the Internal Revenue Code and attendant regulations, individual

taxpayers generally are required annually to accurately report their income, attendant tax

obligations, and, where appropriate, any claim for a refund on a U.S. Individual Income Tax

Return, Form 1040 ("Form 1040" or "tax retum"), which must be filed with the Intemal Revenue

Service ofthe United States Department of the Treasury (the "IRS").

                                      General Background

       5.      Between 2005 and 2009, the LF's bookkeeper ("the Bookkeeper") worked closely

with GIBSON. Using Quickbooks, she kept a detailed record ofpayments the LF received for

professional services and expenses the LF paid. At the end of each year, the Bookkeeper

provided a computer file containing the LF's Quickbooks records to KESNER and the junior

accountant who assisted him ("the Assistant").

       6.      As a general matter, KESNER and the Assistant reviewed the Quickbooks file,

asked the Bookkeeper follow-up questions and asked the Bookkeeper for additional

documentation. KESNER also met and spoke with GIBSON privately about the finn's finances

as needed. At KESNER's direction, the Assistant then adjusted the Quickbooks records,

prepared the LF's and GIBSON's tax returns and prepared a financial statement for the LF.
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                           The Conspiracy and Tax Fraud Scheme

       7.      In the tax years, 2005,2006,2008 and 2009 ('the tax years"), the tax returns

prepared under KESNER's direction and filed by GIBSON for the LF purported to reflect the

total income that the LF earned during the tax year. Similarly, the tax returns prepared under

KESNER's direction and filed by GIBSON individually purported to accurately reflect his share

ofthe LF's net income. In fact, however, the tax returns intentionally underreported the

professional fees received by the LF by approximately $3,723,441.01, enabling GIBSONto

under-report his personal incomeby approximately $2,482,294. GIBSONattested that the

returns were true, correct and complete and caused the returns to be filed with the Intemal

Revenue Service. As GIBSON and KESNER both knew, the retums were materially false,

because they underreported the income that the LF obtained and GIBSON earned.

                                    Object of the Consniracv


       8.      The purpose of the conspiracy was to impede, impair, obstruct and defeat the

lawful government fimctions of the Intemal Revenue Service of the Department of the Treasury

in the ascertainment, computation, assessment, and collection of income taxes, and thereby to

permit GIBSON to retain more of his income through the underpayment of taxes he owed.

Manner and Means


       9.      The manner and means by which GIBSON and KESNER accomplished the

objectives of the conspiracy and the tax firaud scheme, included, among other things, the

following:

                       a. In every year except one between 2005 and 2009, KESNER directed

                          the Assistant or the Bookkeeper to subtract several hundred thousand

                          dollars firom the professional fees which the LF recorded in its
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                          Quickbooks files. There was no legal or factual basis for reducing the

                         professional fees which the firm reported.

                      b. Because two-thirds ofthe LF's net income was passed through to

                          GIBSON for tax purposes, KESNER and GIBSON were then able to,

                          and did, underreport GIBSON'S personal tax obligations. Between

                         2005 and 2009, KESNER prepared, and GIBSON filed under oath, tax

                          retums that underreported the federal income taxes GIBSON owed by

                          approximately $875,210.

                                           Overt Acts


       10.     On or about various dates between approximately June 2006 and October 2010,

KESNER and GIBSON did the following overt acts, among others, in furtherance of their

conspiracy and tax firaud scheme:

                      a. On or about June 16,2006, KESNER met with the Bookkeeper to

                          review the Quickbooks files for the 2005 tax year and make

                          adjustments. As a consequence of this meeting, the Bookkeeper

                          adjusted the amoimt ofprofessional fees reported by the firm, reducing

                          them by $868,441.01.

                      b. On or about September 10,2007, GIBSON caused an e-mail to be sent

                          on his behalfto KESNER to request that the amount reflected on the

                          LF's books as loans to him and his partner in the LF be reduced by

                          $735,000 and $245,000, respectively. KESNER, in turn, directed the

                          Accountant to reduce the professional fees being reported by the LF

                          for the 2006 tax year by $980,000 ($735,000 + $245,000).
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       c. On or about July 29,2009 GIBSON arranged for KESNER to come to

            the LF's office to review the 2008 tax year. That same day,

            KESNERdirected the Bookkeeper to reduce the amount of

            professional fees reported by the LF by first $765,000, then two days

            later, ultimately $675,000.

       d. On or about November 10,2009, GIBSON filed an Individual Income

            Tax Return, Form 1040, which under-reported his income by

            approximately $450,000.

       e. On or about September 9,2010, GIBSON sent an e-mail to KESNER

            falsely stating that he had made $1.2 million in loans to the LF during

            tax year 2009. KESNER, knowing this statement was untrue,

            thereafter directed the Assistant to reduce the professional fees

            reported by the LF by $1.2 million.

       f.   On or about October 8,2010, GIBSON filed an Individual Income Tax

            Return, Form 1040, which underreported his income by $800,000.
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                                   COUNTS ONE AND TWO
                         (26 U.S.C. §7206(1) - Filing a False Tax Return)

        11.     The Grand Jury re-alleges and incorporates by reference paragraphs 1 through 10,

and fiirther charges that:

        12.     On or about the filing dates set forth below, in the District of Massachusetts and

elsewhere, the defendant,

                                        DANIEL GIBSON,

did willfully make and subscribe U.S. Individual Tax Returns, Forms 1040, for the tax years set

forth below and filed on or about the dates indicated below, which returns were verified by a

declaration that they were made under the penalties ofpequry, and which returns GIBSON did

not believe to be true and correct as to every material matter, in that GIBSON failed to report

material amounts of income he earned in the amounts .set forth below:


        Count    Tax Year     Annrox.         Taxable       Income      Additional Federal
                              Date of          Income       Omitted     Income Tax Due
                              Filins          Reported                  and Owing
        One      2008         11/10/2009       $560,513     $450,000 $150,659

        Two       2009        10/08/2010       $815,255     $800,000 $282,800




        All in violation of Title 26, United States Code, Section 7206(1).
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                                 COUNTS THREE AND FOUR
                          (26 U.S.C. §7206(2) - Aiding, Assisting an
                        Advising the Preparation of a False Tax Return)

       13.      The Grand Jury re-alleges and incorporates by reference paragraphs 1 through 10,

and further charges that:

       14.      On or about the dates set forth below, in the District of Massachusetts and

elsewhere, the defendant,

                                        MARKKESNER,

did willfully aid and assist in, and procure, counsel, and advise the preparation and presentation

to the Internal Revenue Service, of a U.S. Individual Income Tax Return, Form 1040. The return

was false and fraudulent as to a material matter, in that it underreported the net income earned by

DANIEL GIBSON in the approximate amounts set forth below:



        Count    Tax Year     ADorox.         Income      Additional Federal
                              Date of         Omitted     Income Tax Due
                              Filing                      and Owing
        Three    2008         11/10/2009      $450,000    $150,659

        Four     2009         10/08/2010      $800,000    $282,800




       All in violation of Title 26, United States Code, Section 7206(2).
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                                             COUNTS
                         (18 U.S.C. § 371 - Conspiracy to Defraud the
                        United States and Impede and Impair the IRS)

       15. The Grand Jury re-alleges and incorporates by reference paragraphs 1 through 10, and

           further charges that:

       16. On or about and between June 2006 and October, 2010, in the District of

           Massachusetts and elsewhere, the defendants,

                                         DANIEL GIBSON
                                              and
                                         MARKKESNER,

did unlawfully, voluntarily, intentionally and knowingly conspire, combine, confederate and

agree together and with each other to defraud the United States for the purpose of impeding,

impairing, obstructing and defeating the lawfiil Government functions of the Internal Revenue

Service of the Treasury Department in the ascertainment, computation, assessment and collection

of the revenue: to wit, income taxes.

       In violation of Title 18, United States Code, Section 371.
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                    A TRUE BILL




                                                  FOREPfflSON OF   GRAND JURY




STEPfflNP. HF
ASSISTANT U.S. ATTORNEY


     DISTRICT OF MASSACHUSETTS; October 28, 2015

     Returned into the District by the Grand Jurors and filed




                                                  DEPUTY CLERK
